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                                                                                       E-FILED
                                                     Tuesday, 28 September, 2021 10:36:13 AM
                                                                  Clerk, U.S. District Court, ILCD

           IN THE UNITED STATES DISTRICT COURT
      CENTRAL DISTRICT OF ILLINOIS, SPRINGFIELD DIVISION

UNITED STATES OF AMERICA, )
                          )
         Plaintiff,       )
                          )
    v.                    )                Case No. 21-cr-30029
                          )
JOHN BILECK, Sr., et al., )
                          )
         Defendants.      )

                                    OPINION

TOM SCHANZLE-HASKINS, U.S. MAGISTRATE JUDGE:

      This matter comes before the Court on Defendant John Bileck, Sr.’s

(Bileck) Motion to Modify Order of Detention (d/e 58) (Motion). For the

reasons set forth below, the Motion is DENIED.

                                BACKGROUND

      On May 5, 2021, the Grand Jury indicted Bileck on charges of

conspiracy to distribute 50 grams or more of actual methamphetamine in

violation of 21 U.S.C. §§ 841(a)(1) and (b)(1)(A), and 846 (Count 1); money

laundering, in violation of 18 U.S.C. § 1956(a)(1)(A)(i) (Count 2).

Indictment (d/e 1).

      On June 2, 2021, the Court conducted a detention hearing for Bileck.

After considering the information and arguments presented at the detention

hearing, The Court ordered that Bileck be held without bond. Minute Entry
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entered June 2, 2021. The Court entered Order of Detention (d/e 30) on

June 9, 2021. The Court found that the evidence against Bileck was

strong. The Court found that Bileck was alleged to have headed an

extensive drug conspiracy. The Court further found that Bileck had a

significant criminal history that included two felony drug convictions and

four prison sentences. Bileck admitted he used methamphetamine daily

and his addiction motivated him to commit the alleged offenses charged in

the Indictment. The Court found that no conditions or combinations of

conditions can ensure the safety of the community nor ensure the

appearance of the defendant at further judicial proceedings. The Court

stated that it would reconsider detention if Bileck secured a placement in a

residential drug treatment facility. Order of Detention ¶¶ 3-8.

      Bileck now asks the Court to release him on bond because he has

secured an inpatient residential substance abuse treatment placement at

the Knolls Center for Change in Peoria, Illinois. Motion ¶ 10.

      The Government opposes the Motion. The Government notes that

Bileck has been clean and sober for several months while in pretrial

detention and will remain clean and sober if he remains in detention. The

Government argues that Bileck will have greater opportunity to use illegal

drugs if he is released from detention.

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     The Government further notes that Bileck was arrested on state

charges during the federal investigation of this case. The Government’s

evidence indicates that Bileck continued to participate in a conspiracy to

distribute methamphetamine while in state custody. In light of these factors

and the strength of the case against Bileck, the Government opposes

reconsideration.

                                 ANALYSIS

     This Court may reconsider the Bond Conditions Order if information

not known to Bileck at the time of the detention hearing has a material

bearing on the issue of whether changes in the conditions of release will

reasonably assure Bileck’s appearance in this case and the safety of any

other person in the community. 18 U.S.C. § 3142(f). Bileck has presented

new information that he has secured a placement in a residential drug

treatment facility. After careful consideration, the new information does not

show that conditions of release exist that can ensure the safety of the

community nor ensure the appearance of the defendant at further judicial

proceedings.

     In determining whether conditions of release will reasonably assure

Bileck’s appearance in this case and the safety of any person in the

community, this Court must consider the following factors:

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(g) Factors to be considered – The judicial officer shall, in
determining whether there are conditions of release that will
reasonably assure the appearance of the person as required
and the safety of any other person and the community, take into
account the available information concerning--

     (1) the nature and circumstances of the offense charged,
     including whether the offense is a crime of violence, a
     violation of section 1591, a Federal crime of terrorism, or
     involves a minor victim or a controlled substance, firearm,
     explosive, or destructive device;

     (2) the weight of the evidence against the person;

     (3) the history and characteristics of the person, including-

           (A) the person's character, physical and mental
           condition, family ties, employment, financial
           resources, length of residence in the community,
           community ties, past conduct, history relating to
           drug or alcohol abuse, criminal history, and record
           concerning appearance at court proceedings; and

           (B) whether, at the time of the current offense or
           arrest, the person was on probation, on parole, or
           on other release pending trial, sentencing, appeal,
           or completion of sentence for an offense under
           Federal, State, or local law; and

     (4) the nature and seriousness of the danger to any
     person or the community that would be posed by the
     person's release. In considering the conditions of release
     described in subsection (c)(1)(B)(xi) or (c)(1)(B)(xii) of this
     section, the judicial officer may upon his own motion, or
     shall upon the motion of the Government, conduct an
     inquiry into the source of the property to be designated for
     potential forfeiture or offered as collateral to secure a
     bond, and shall decline to accept the designation, or the
     use as collateral, of property that, because of its source,

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            will not reasonably assure the appearance of the person
            as required.

18 U.S.C. § 3142(g).

      The new information does not change the nature of the charge

against Bileck, the weight of the evidence against Bileck, or Bileck’s history

and characteristics. The residential placement in a treatment facility may

affect the danger to the community by releasing Bileck on bond, but only

minimally. The Motion does not state the length of the inpatient placement

or where Bileck would reside after completing the course of inpatient

treatment. Further, the Government’s investigation indicated that Bileck

ran a drug conspiracy while in state custody. He could just as easily run

such a conspiracy from a drug treatment facility.

      Finally, the Court stated that it would reconsider detention if Bileck

could secure a placement; however, at the time Bileck was using

methamphetamine on a daily basis and needed drug detoxification. Bileck

has been sober for several months while in detention. He does not need

detoxification treatment, and upon reconsideration, the Court agrees with

the Government that Bileck is more likely to remain sober if he remains in

detention. Bileck has failed to present sufficient grounds to justify

modifying his conditions of release.



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     THEREFORE, IT IS ORDERED that Defendant John Bileck Sr.’s

Motion to Modify order of Detention (d/e 58) is DENIED.

ENTER: September 28, 2021

                          s/ Tom Schanzle-Haskins
                          TOM SCHANZLE-HASKINS
                      UNITED STATES MAGISTRATE JUDGE




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